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8                        IN THE UNITED STATES DISTRICT COURT FOR THE
9                                NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11   UNITED STATES OF AMERICA                            )
                                                         )     Case No. CR05-0638 SI
12                  Plaintiff,                           )
                                                         )
13          v.                                           )
                                                         )     Stipulation and Proposed Order to Exclude
14                                                       )     Time Under the Speedy Trial Act
     LEROY ALBERT LEWIS,                                 )
15                                                       )
                    Defendant.                           )
16                                                       )
17          The United States of America and defendant LeRoy Albert Lewis, by and through their
18   undersigned counsel, respectfully move the Court in this stipulation to exclude the time between June
19   30, 2006 and October 6, 2006 for purposes of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. The
20   parties request this time to be excluded for Speedy Trial purposes in order to adequately prepare for
21   trial pursuant to 18 U.S.C. § 3161(h)(8).
22          The Speedy Trial Act generally requires a defendant to be tried within seventy days of his initial
23   appearance in court. See 18 U.S.C. § 3161(c)(1). Defendant LeRoy Albert Lewis first appeared in
24   court on October 12, 2005. Since that time, defendant LeRoy Albert Lewis has requested that his trial
25   date be postponed because he is receiving treatment for a medical condition and cannot prepare for
26   trial. At a hearing on June 30, 2006, the Court granted his request and ordered the parties to appear at a
27   status conference on October 6, 2006. This case involves allegations of a highly complex tax
28   conspiracy. The parties cannot adequately prepare for trial within seventy days, especially in light of
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1    defendant LeRoy Albert Lewis’s medical condition. In a series of Orders, the Court has previously
2    excluded the time from November 16, 2005 until June 30, 2006 for Speedy Trial considerations. The
3    parties now agree that the Court should also exclude the time from June 30, 2006 until October 6, 2006
4    in order to prepare for trial, pursuant to 18 U.S.C. § 3161(h)(8).
5                                                          Respectfully submitted,
6
                                                           KEVIN V. RYAN
7                                                          United States Attorney
                                                           Northern District of California
8

9                                                  By:      /s/
                                                           Robert J. Livermore
10                                                         Trial Attorney
                                                           United States Department of Justice
11                                                         Tax Division
                                                           Northern Criminal Enforcement Section
12                                                         601 D Street NW, Suite 7122
                                                           Washington, DC 20044
13                                                         (202) 514-2722
                                                           (202) 616-1786 (facsimile)
14                                                         Virginia State Bar Number: 42957
15
                                                           /s/
16                                                         Barry Portman
                                                           Federal Public Defender
17                                                         Attorney for Defendant LeRoy Albert Lewis
18                                                       Order
19            The Court finds that the time from June 30, 2006 until October 6, 2006 is properly excluded for
20   Speedy Trial purposes under 18 U.S.C. § 3161(h)(8) to allow the parties to prepare for trial. In so
21   doing, the Court finds that this case is “so complex . . . that it is unreasonable to expect adequate
22   preparation for pretrial proceedings or for the trial itself within the time limits established by” the
23   Speedy Trial Act. The Court also finds that the ends of justice are best served by excluding this time,
24   and that this outweighs the interest of the public and the defendant in a speedy trial pursuant to 18
25   U.S.C. § 3161(h)(8)(A). See Zedner v. United States, -- S.Ct.--, 2006 WL 1519360 (June 5, 2006).
26            IT IS SO ORDERED.
27
     Dated:
28                                                         SUSAN ILLSTON
                                                           United States District Judge

                                                           2
